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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 16-CR-20893-FAM(s)


    UNITED STATES OF AMERICA,

    vs.

    MONTY RAY GROW,

                Defendant.
    _______________________________/

               DEFENDANT MONTY GROW’S THIRD AMENDED EXHIBIT LIST


          PRESIDING JUDGE                PLAINTIFF’S COUNSEL               DEFENDANT’S COUNSEL

                                                                        DANIEL RASHBAUM
                                   KEVIN LARSEN
HONORABLE FEDERICO A. MORENO                                            JEFFREY MARCUS
                                   JON JUNGER
                                                                        KATHRYN MEYERS


 DATE                     DATE
OFFERED       MARKED    ADMITTED                         DESCRIPTION OF EXHIBIT


                                   25-Oct-14 Text between Monty Grow and Matthew Smith
                1
                                   GOV_MG000221
                                   10-Dec-14 Email between Christopher O'Hara and Monty Grow re
                2                  Cancel the Following Individuals
                                   GOV_MG-011142
                                   30-Jan-15 Email between Christopher O'Hara and Monty Grow re
                3                  Shelton Scar Was Denied
                                   GOV_MG-011144
                                   19-Feb-15 Texts between Monty Grow and Matthew Smith
                4
                                   GOV_MG011161-63
                                   28-Feb-15 Text between Monty Grow and Robin Halliburton
                5
                                   GOV_MG-011166
                                   19-Apr-15 Text between Monty Grow and Prince Alex
                6
                                   GOV_MG-011189-90
                                   25-Apr-15 Email between Matthew Smith and Monty Grow re Payouts
                7
                                   GOV_MG-011195
                                   28-Apr-15 Email between Monty Grow and Austin Ashby re Patient-
                8
                                   Out Form GOV_MG-011197
                                   7-May-15 Texts between Monty Grow and Torniqua Johnson
                9
                                   GOV_MG-011206-08
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                           12-May-15 Email between Monty Grow and Matthew Smith re
           10
                           Torniqua Johnson GOV_MG-011212
                           14-May-15 Email between Monty Grow and Ralph Louis re Michael
           11
                           Dimmick GOV_MG-011214
                           Undated Text between Monty Grow and Roy
           12
                           GOV_MG-011215
                           23-Feb-15 Texts between Monty Grow and Matthew Smith
           13
                           GOV_MG-011230-33
                           27-Feb-15 Text between Monty Grow and Matthew Smith
           14
                           GOV_MG-011234
                           10-May-15 Texts between Monty Grow and Robin Halliburton/Shane
           15
                           Matthews GOV_MG-011235-37
                           Undated InforMD Compounding Promotional Materials
           16
                           GOV_MG-011630-37
           17              Undated Monty Grow HR File GOV_MG-051523
                           15-Apr-15 Email between Phil Lockwood and Matthew Smith re
           18              Revised Wording on Sales Rep Offer Letters for Commissions
                           GOV_MG-055334
                           29-Apr-15 Email between David Corcoran and Diana Hinton re Offer
           19
                           Letter GOV_MG-086424
                           24-Mar-15 Email between Monty Grow and Deanna Dutting re Gary
           20
                           Herber GOV_MG-11183
                           22-Apr-15 Text between Monty Grow and Matthew Smith
           21
                           MG_DEF000217
                           8-Jan-15 Text between Monty Grow and Tiffany
           22
                           MG_DEF000220
                           2-Feb-16 Texts between Monty Grow and Christopher O'Hara
           23
                           MG_DEF000222-224
                           19-Apr-15 Text between Monty Grow and Daniella
           24
                           MG_DEF000225
                           2-Mar-15 Texts between Monty Grow and Matthew Smith
           25
                           MG_DEF000226-227
                           19-Mar-15 Text between Monty Grow and Matthew Smith
           26
                           MG_DEF000228
                           Undated Text between Monty Grow and Matthew Smith
           27
                           MG_DEF000229
                           Undated Texts between Monty Grow and Matthew Smith
           28
                           MG_DEF000230-231
                           13-May-15 Text between Monty Grow and Nichole Powell
           29
                           MG_DEF000232-233
                           22-Jan-15 Text between Monty Grow and Matthew Smith
           30
                           MG_DEF000234
                           29-Sep-14 Text between Monty Grow and Matthew Smith
           31
                           MG_DEF000235
                           Undated Text between Monty Grow and Ryan Forsthoff
           32
                           MG_DEF00218
                                          2
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                           28-Apr-15 Email between Monty Grow and Jill Cichowicz (no subject)
           33
                           MG-089443
                           30-Apr-15 Email between Matthew Smith and Monty Grow re Schedule
           34
                           MG106994
                           30-Apr-15 Email between Wayne Moore and Monty Grow re Sandra
           35
                           and Sabirna Jordan MG107556
                           28-Apr-15 Email between Matthew Smith and David Corcoran re Offer
           36
                           Letter MG108032
                           29-Apr-15 Email between Matthew Smith and Monty Grow re Offer
           37
                           Letter MG108170
                           29-Apr-15 Email between Monty Grow and Kowanda Rodriguez re
           38
                           Working Part Time MG108384
                           1-Apr-15 Email between Monty Grow and Ralph Louis re New Script
           39
                           Needed MG116485
                           19-Apr-15 Email between Monty Grow and Joseph Owmby re Scan.pdf
           40
                           MG116505
                           10-Apr-15 Email between Monty Grow and David Vose re Comp Meds
           41
                           MG116554
                           9-Apr-15 Email between Monty Grow and Chris Szabo re Question
           42
                           About Overseas Clients MG116719
                           19-Apr-15 Email between Monty Grow and Jill Cichowicz re Refill
           43
                           MG116860
                           20-Apr-15 Email between Monty Grow and Nichole Powell re
           44
                           Questions MG117189
                           24-Mar-15 Email between Monty Grow and Matthew Smith re Wow
           45
                           MG117271
                           31-Mar-15 Email between Monty Grow and Richard Steinkohl re Feb
           46
                           Commissions MG117480
                           18-Mar-15 Email between Monty Grow and Patrick Smith re New Hire
           47
                           Information MG117481
           48              31-Mar-15 Efax from 1st Care MG117715
                           16-Mar-15 Email between Patrick Smith and Monty Grow re
           49
                           Employment Contract Proposal MG119492
                           22-Jan-15 Email between Monty Grow and Matthew Smith re Monty
           50
                           Grow efax MG120006
                           4-Feb-15 Email between Monty Grow and Deanna Dutting re January
           51
                           Payments MG120010
                           25-Jan-15 Email between Monty Grow and Christopher O'Hara re
           52
                           Update MG120082
                           29-Jan-15 Email between Armando Lozada and Alisa Catoggio re Mg
           53
                           Ten MG120092
                           30-Jan-15 Email between Monty Grow and Alisa Catoggio (and others)
           54
                           re Refills MG120118
                           26-Jan-15 Email between Monty Grow and Matthew Smith re Corporate
           55
                           efax message MG120137

                                         3
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                           25-Jan-15 Email between Monty Grow and Matthew Smith re Question
           56
                           MG120143
                           5-Feb-15 Email between Monty Grow and Deanna Dutting re Travis
           57
                           Wright MG120155
                           21-Jan-15 Email between Monty Grow and Matthew Smith re Corporate
           58
                           efax message MG120308
                           23-Jan-15 Email between Monty Grow and Matthew Smith re Corporate
           59
                           efax message MG120545
                           9-Feb-15 Email between Monty Grow and John Wetzel re New Patient
           60
                           MG120793
                           22-Jan-15 Email between Monty Grow and Aricka Spencer (no subject)
           61
                           MG120870
                           28-Jan-15 Email between Monty Grow and Matthew Smith re Patient
           62
                           First HIPPA MG121191
                           27-Jan-15 Email between Monty Grow and Alisa Catoggio re Luis
           63
                           Stephen Green MG121405
                           2-Feb-15 Email between Monty Grow and Matthew Smith re Corporate
           64
                           efax message MG121496
                           27-Jan-15 Email between Monty Grow and Christopher O'Hara (no
           65
                           subject) MG121761
                           21-Jan-15 Email between Monty Grow and Alisa Catoggio re No
           66
                           Contact with Patients MG121784
                           11-Feb-15 Email between Monty Grow and Mary Jo Giles re Refills
           67
                           Needed MG121833
                           26-Jan-15 Email between Monty Grow and Ginger Lay re Ginger Lay
           68
                           MG121861
                           26-Jan-15 Email between Monty Grow and Deanna Dutting re Ulysses
           69
                           Tomblin MG121894
                           27-Jan-15 Email between Monty Grow and Jill Zebrowski re
           70
                           Compounding MG122045
                           20-Nov-14 Email between Monty Grow and Matthew Smith re Pedigree
           71
                           MG122156
                           26-Dec-14 Email between Monty Grow and Matthew Smith re Still No
           72
                           Ethoxy? MG122322
                           11-Dec-14 Email between Monty Grow and Matthew Smith re Ginger
           73
                           Lay MG122376
                           16-Dec-14 Email between Monty Grow and Ginger Lay re Tele-
           74
                           Medicine State List MG122452
                           29-Dec-14 Email between Monty Grow and Raymond Bear re Scar
           75
                           Compound MG122559
                           14-Jan-15 Email from Ashley Roddy re InforMD HIPAA Business
           76
                           Associate Agreement MG122616
                           26-Nov-14 Email between Monty Grow and Ginger Lay re Agreement
           77
                           MG122976
                           23-Nov-14 Email between Monty Grow and Christopher O'Hara re
           78
                           States MG123049

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                           3-Dec-14 Email between Monty Grow and Ruth Bass re November
           79
                           Preliminary Report MG123107
                           27-Dec-14 Email between Monty Grow and Alec Vancil re Just a Few
           80
                           Questions MG123803
                           8-Jan-15 Email between Monty Grow and Alec Vancil re Hey Monty
           81
                           MG123911
                           17-Dec-14 Email between Monty Grow and Donna Kovell re Vitamins
           82
                           MG123933
                           24-Nov-14 Email between Monty Grow and Nichole Powell re
           83
                           Prescription MG124451
                           5-Jan-15 Email between Monty Grow and Louis Haigler re Patient
           84
                           MG124461
                           6-Dec-14 Email between Monty Grow and Mary Jo Giles re Jacob
           85
                           Sackman MG124467
                           22-Dec-14 Email between Monty Grow and Larry Speir re Agreement
           86
                           and Invoice MG124747
                           22-Apr-14 Email between Denae Brown and Ryan Forsthoff re InforMD
           87
                           Next Steps and Important Information MG124871
                           31-May-14 Email between Monty Grow and Colleen Johnston re
           88
                           InforMD Sales Consultant Agreement Attached MG125391
                           22-Apr-14 Email between Monty Grow and Colleen Johnston re New
           89
                           Reps MG125428
                           5-Jun-14 Email between Monty Grow and Colleen Johnston re New Rep
           90
                           MG126561
                           9-Jul-14 Email between Colleen Johnston and Monty Grow re SteraBase
           91
                           Information MG126775
                           22-May-14 Email between Monty Grow and Shane Matthews re
           92
                           Compounding Pharmacy MG126987
                           28-Mar-14 Email between Monty Grow and Colleen Johnston re
           93
                           InforMD Sales Consultant Agreement Attached MG127264
                           7-Apr-14 Email between Ryan Forsthoff and Craig Hordlow re Script
           94
                           Pads for Physician MG127355
                           23-Jun-14 Email between Monty Grow and Ruth Bass re Bank Info
           95
                           MG127397
                           17-Apr-14 Email between Monty Grow and Denae Brown re InforMD
           96              Next Steps and Important Information
                           MG127478
                           23-Jun-14 Email between Monty Grow and Colleen Johnston re New
           97
                           Rep MG128151
                           14-May-15 Email between Monty Grow and Shane Matthews re Sales
           98
                           Agreement MG128195
                           21-May-14 Email between Monty Grow and Ryan Long re Agreement
           99
                           MG128362
                           27-May-15 Email between Monty Grow and Wayne Moore re Request
          100
                           MG131152


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                           27-May-15 Email between Monty Grow and Matthew Smith re Patient
          101
                           Info MG131605
                           19-Apr-15 Email between Monty Grow and Austin Ashby re Patient
          102
                           Out-Form MG144030
                           19-Apr-15 Email between Monty Grow and Cody Haas re Patient Intake
          103
                           Information Form MG144352
                           20-Apr-15 Email between Monty Grow and Alex Vancil re Question
          104
                           MG144395
                           24-Apr-15 Email between Monty Grow and David Corcoran re W-2
          105
                           Onboarding MG144457
                           3-Mar-15 Email between Monty Grow and Matthew Smith re
          106
                           Survey/Patient Questions MG145736
                           3-Mar-15 Email between Monty Grow and Matthew Smith re
          107
                           Survey/Patient Questions MG145742
                           11-Mar-15 Email between Monty Grow and Matthew Smith re Sales
          108
                           Rep Offer Letter Without Draw MG145928
                           9-Mar-15 Email between Monty Grow and Matthew Smith re
          109
                           Agreement MG145961
                           11-Mar-15 Email between Monty Grow and Ginger Lay re Patient
          110A
                           Question MG146156
                           11-Mar-15 Email between Monty Grow and Ginger Lay re Patient
          110B
                           Question
                           12-Mar-15 Email between Monty Grow and Matthew Smith re HR
          111
                           Update MG146207
                           10-Mar-15 Email between Monty Grow and Matthew Smith re Do You
          112              Have Job Descriptions for Your People
                           MG146439
                           11-Mar-15 Email between Monty Grow and Matthew Smith re Updated
          113
                           Transdermal 1 MG146442
                           4-Mar-15 Email between Monty Grow and Matthew Smith re Program
          114
                           Discontinued MG146577
                           2-Mar-15 Email between Mary Jo Giles and Blair von Lentemann
          115
                           MG146669
                           11-Mar-15 Email between Monty Grow and Luis Green re Patient
          116
                           Intake Information MG146758
                           4-Mar-15 Email between Matthew Smith and Mary Jo Giles re Ginger
          117
                           Lay MG146770
                           2-Mar-15 Email between Monty Grow and Luis Green re Deployed
          118
                           Clients MG146805
                           4-Mar-15 Email between Monty Grow and Patrick Smith re
          119
                           Employment Contract Proposal MG146909
                           10-Mar-15 Email between Monty Grow and Luis Green re Multi
          120
                           Vitamin Part One MG147109
                           6-Mar-15 Email between Monty Grow and Matthew Smith re Monty's
          121
                           Employment Letter MG147139


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                           4-Mar-15 Email between Monty Grow and Wayne Moore re Please Call
          122
                           Me MG147144
                           23-Feb-15 Email between Monty Grow and Matthew Smith re Monty
          123
                           Grow MG147405
                           20-Feb-15 Email between Monty Grow and Matthew smith re
          124
                           Assessment MG147438
                           26-Feb-15 Email between Monty Grow and Matthew Smith re Your
          125
                           Reservation Confirmation for Fleming's Steakhouse MG147496
                           20-Feb-15 Email between Ginger Lay and Monty Grow re Consent
          126
                           Form MG147504
                           24-Feb-15 Email between Monty Grow and Mary Jo Giles re Sara
          127
                           Meyer MG147510
                           23-Feb-15 Email between Monty Grow and Jacob Ehekircher re Jacob
          128
                           Ehekircher MG147518
                           23-Feb-15 Email between Monty Grow and Andrew Boothe re
          129
                           Compounding MG147736
                           24-Feb-15 Email between Monty Grow and Natalie Leon-Pinckney re
          130
                           M. Stiles Intake Form MG147864
                           18-Feb-15 Email between Monty Grow and John Wetzel re Patient
          131              Mario Castro and Patient Wendy Williams
                           MG147931
                           24-Feb-15 Email between Monty Grow and Louis Haigler (no subject)
          132
                           MG148244
                           17-Nov-14 Email between Monty Grow and Ginger Lay re Available
          133
                           States MG149088
                           13-Nov-14 Email between Monty Grow and Matthew Smith (no subject)
          134
                           MG149562
                           1-Oct-14 Email between Monty Grow and Mark Vollaro re
          135
                           Telemedicine MG149725
                           30-Sep-14 Email between Monty Grow and Mark Vollaro re
          136
                           Telemedicine MG149752
                           14-Nov-14 Email between Monty Grow and Ginger Lay re Prescription
          137
                           Pads MG149823
                           10-Nov-14 Email between Monty Grow and Manda Martini re
          138
                           Compound Info MG150010
                           23-Oct-14 Email between Monty Grow and Matthew Smith re eFax
          139
                           message MG150227
                           30-Sep-14 Email between Monty Grow and Matthew Smith re Rx Pad
          140
                           Template MG150257
                           20-Aug-14 Email between Matt Skellan and Ryan Forsthoff re InforMD
          141
                           Update = 30 gm Emergency Supply MG150381
                           22-Sep-14 Email between Monty Grow and Antoine Mourani re
          142
                           Sterabase Study MG150691
                           12-Aug-14 Email between Monty Grow and Dr. Willie re Reference
          143
                           Letter MG151041


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                           15-Aug-14 Email between Monty Grow and Ryan Forsthoff re
          144
                           Agreement MG151786
                           5-Sep-14 Email between Erik Santos and Monty Grow re Countersigned
          145
                           Agreements MG152802
                           30-Jul-14 Email between Colleen Johnston and Murray Firestone re
          146
                           Sterabase Sample MG153453
                           9-May-15 Email between Matthew Smith and Telemedtechrx re
          147              Formula that Is Not Profitable
                           PCA-IOWA003884
                           19-May-15 Email between Matthew Smith and Kim Day re Happy
          148
                           Customer - Thought I'd Share PCAX00102181
                           3-Mar-15 Email between Matthew Smith, Mary Jo Giles and Kim Day
          149
                           re Survey/Patient Questions PCAX00103071
                           14-Jan-16 Email between Joe Dimond and Patrick Smith re Compliance
          150
                           Audit Report PCAX00146944
                           13-Apr-15 Email between Patricia Gunn and Phil Lockwood re
          151              Discretionary Bonus Payout Q1
                           PCAX00158275
                           26-Feb-15 Email between Thomas Buscemi and Patrick Smith re Good
          152
                           Luck PCAX00159194
                           26-Feb-15 Email between Gary Walker and Patrick Smith re Meeting
          153
                           Tonight PCAX00159198
                           25-Feb-15 Email between Patrick Smith and Gary Walker re Emailing
          154
                           Engagement Letter PCAX00159460
                           25-Feb-15 Email between Patrick Smith and Gary Walker re Meeting
          155
                           Tonight PCAX00159465
                           29-Oct-14 Email between Matthew Smith and Carmen Green re W9s
          156
                           PCAX00164989
                           25-Feb-15 Email between Patrick Smith and Gary Walker re Emailing
          157
                           Engagement Letter PCAX00179907
                           21-Jul-15 Email between Matthew Smith and Caroline Eller re Telemed
          158
                           Copays PCAX00426849
                           5-Feb-15 Email between Joe Dimond and Matthew Smith (no subject)
          159
                           PCAX00478831
                           5-Mar-15 Email between Matthew Smith and Patrick Smith re Expertise
          160
                           PCAX00503779
                           13-Apr-15 Email between Monty Grow and Matthew Smith re
          161
                           Conversion PCAX00508513
                           7-Aug-14 Email between Monty Grow, Matthew Smith and Mary Jo
          162              Giles re Application and Order for Sterabase
                           PCAX00515619
                           2-Mar-15 Email between Matthew Smith and Alisa Catoggio re Your
          163
                           Messages from Appletree PCAX00824010
                           24-Apr-15 Email between Matthew Smith and David Corcoran and
          164              Monty Grow re W-2 Onboarding Process
                           PCAX01060486

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                           7-Aug-14 Email between Matthew Smith and Bill Balsalmo re DCRX
          165
                           MDPlus Marketing Agreement PCAX01062649
                           30-Jul-14 Email between Matt Smith and Steve Miller re Can U Send
          166              Me the Latest Edits Once More for Legal
                           PCAX01062658
                           28-Apr-15 Email between Monty Grow and Matthew Smith re Offer
          167
                           Letter PCAX01063232
                           27-Apr-15 Email between Phil Lockwood and Ross Christianson and
          168
                           RLH re Q2 HR Board Update PCAX01063770
                           29-Sep-14 Email between Monty Grow and Matthew Smith re
          169
                           Agreement PCAX01066766
                           5-Mar-15 Email between Monty Grow and Patrick Smith re
          170
                           Employment Contract Proposal PCAX01067414
                           5-Mar-15 Invoice - Law Offices of David J. Corcoran
          171
                           PCAX01068091
                           24-Apr-15 Email between Monty Grow and Matthew Smith re PCA On
          172
                           Boarding Process PCAX01068316
                           1-May-15 Email between Matthew Smith and Monty Grow re Monty's
          173              Group - Onboarding Packages
                           PCAX01071306
          174              30-Nov-16 Indictment
          175              Undated call_17-55-18_OUT_6054754700-1 (transcript forthcoming)
          176              Undated CV of Carter Conrad
          177              Undated CV of Ronaldson, Patrick Thomas
          178              PCA - Documents
          179              Pharmetrics - Documents
                           14-Nov-14 Email between Monty Grow and Craig Long re Mutually
          180
                           Signed NCND and MOU for Your Review MG148891
          181              Composite Exhibit – 1099s MG_DEF000088-000147
          182              Composite Exhibit – PCA Website MG_DEF000001-000087
          183              Wholesale Referral Agreement MG_DEF000165
          184              Independent Sales Consultant Agreement MG_000171
          185              Service Agreement Between Legacy and MGTen MG_000181
          186              Independent Sales Agent Agreement MG_000183
          187              Consulting Agreement MG_000197
          188              Letter from Matthew Smith to Monty Grow MG_000200
          189              Composite Exhibit – Letters of Authorization MG_000203-210
          190              Composite Exhibit – 1st Care MD Screenshots MG_000236
                           Call - 01-08-2016 - Dutting GROW call 625PM _ Time of Call 23 min
          191
                           23 seconds
                           Call 01-14-2016 - Dutting GROW call 822PM _ Time of Call 27 min 41
          192
                           seconds
          193              21-Jan-15 Texts between Monty Grow and (352) 286-4660

                                         9
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                           14-Nov-14 Email between Monty Grow and Matthew Smith re Report
           194
                           PCAX01002642
                           6-Oct-14 Email between Monty Grow and Matthew Smith re Monty’s
           195
                           People MG149890
                           13-Oct-14 Email between Monty Grow and Matthew Smith re Patients
           196
                           to Switch Over MG149847
                           16-Oct-14 Email between Monty Grow and Matthew Smith re Monty’s
           197
                           People MG149262
                           11-Jul-14 Email between Monty Grow and Rick Massengale re Monty
           198
                           June MG126262
                           26-Jan-15 Email between Monty Grow and Jill Zebrowski re
           199
                           Compounding MG121719
                           1-Dec-14 Email between Monty Grow and Jonelle Coronado re Tricare
           200
                           Compounds MG123462
           201             Photos of 1679 Seabreeze Drive Tarpon Springs, Florida
          202A             Ginger Lay Resume GL-000277
          202B             Personal Guaranty GL-000367
          202C             Texts between Ginger Lay and Mike Lewis GL-000428
                           Composite Exhibit - Texts between Ginger Lay and Reginald Vines GL-
          202D
                           000445, 447, 451
          202E             Texts between Ginger Lay and Mark Terrill GL-000461
                           Composite Exhibit - Texts between Ginger Lay and Richard Sharrieff
          202F
                           GL-000470-77, 484-85, 487-88, 490, 492, 511
                           Composite Exhibit - Texts between Ginger Lay and David Lloyd GL-
          202G
                           000527, 530-531, 536-538, 541, 544, 546, 572, 575, 579, 582
                           Composite Exhibit - Texts between Ginger Lay and Jeff Madison GL-
          202H
                           000600-601
           202I            Participation Information and Consent Form GL-000996
                           12-Jan-15 Email from Assessment Survey to Rebecca Dickensauge re
          202J
                           Med Rx Assessment Program - Rebecca Dickensauge GM-001092
                           Composite Exhibit – Med RX Sales LLC Bank of America Account
          202K
                           Documents GL-001040-1067
          202L             Texts between Ginger Lay and Sister in Law GL-000518
          202M             Texts between Ginger Lay and Erik Santos GL-000584
          202N             Texts between Ginger Lay and David GL-000777-80
                           2-Dec-14 Email from Monty Grow to Ginger Lay re Telemed Packet
           203
                           MG122588
                           4-Mar-15 Email from Ginger Lay to Monty Grow re Teledoc
           204
                           MG145947
           205             29-Apr-15 Text between Ginger Lay and Monty Grow
           206             4-Mar-15 Text between Ginger Lay and Monty Grow
                           13-Apr-15 Email from Med Rx Assessment Survey to Blair Von
           207             Letkemann re Medrx 30 Day Product Assessment Survey – Blair Von
                           Letkemann


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                           2015-Apr-1 Email between Esan Forde and Matthew Smith and Others
           208
                           re Larry Wilson GOV_MG-089333
                           5-Mar-15 Email between Ralph Louis and Monty Grow re Reversal
           209
                           MG146607
                           19-May-15 Email between Matthew Smith and Kim Day re Happy
           210
                           Customer – Thought I’d Share PCAX00102181
                           Composite Exhibit – Emails between Monty Grow and Ralph Louis
           211
                           MG118030; MG118466; MG118602; MG118833; MG119357
                           25-Mar-15 Email between Monty Grow and Ralph Louis re Urgent
           212
                           MG119731
           213
           214
           215




                                         11
